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 9
                                 UNITED STATES DISTRICT COURT
10
                                NORTHERN DISTRICT OF CALIFORNIA
11
                                    SAN FRANCISCO DIVISION
12
13
14 KEVIN POULSEN,                                 )     Case No.: C 06-1743 SI
                                                  )
15                 Plaintiff,                     )     DECLARATION OF KEVIN POULSEN
                                                  )     IN SUPPORT OF PLAINTIFF’S MOTION
16         v.                                     )     FOR SUMMARY JUDGMENT
                                                  )
17                                                )     Hearing Date: May 19, 2006
   UNITED STATES CUSTOMS AND                      )     Time:         9:00 a. m.
18 BORDER PROTECTION,                             )     Courtroom: 10, 19th Floor
                                                  )
19                 Defendant.                     )
                                                  )
20
21
22         I, KEVIN POULSEN, declare:
23         1. I am submitting this declaration in support of Plaintiff’s Motion for Summary
24 Judgment. I make this declaration based on my own personal knowledge.
25         2. My name is Kevin Poulsen and I reside in San Francisco, California. I am a full-time
26 journalist with Wired News, an online news magadine. I primarily report on current technology
27 issues, including computer security and electronic privacy.
28 //


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 1          3. In the course of my reporting at Wired News, and at publications at which Ifve
 2 worked in the past, Ifve used the Freedom on Information Act to obtain documents from
 3 government agencies. Ifve found the FOIA is a valuable tool for reporting on federal government
 4 activities.
 5          4. On August 19, 2005, a story by the Associated Press reported that a virus had shut
 6 down a United States Customs and Border Protection (“CBP”) computer system on August 18,
 7 2005 for several hours. A true and correct copy of the article is attached to this declaration as
 8 Exhibit A. According to the story, the affected computer was a government database used to
 9 determine if international travelers were fit to jclear immigration,j and its failure forced customs
10 agents in airports around the country to resort to manual inspections. As a result, the article
11 reports, thousands of international travelers were subjected to substantial delays. (Exhibit A.)
12 The article cited official statements made by a Department of Homeland Security spokesman, a
13 spokesman for CPB in southern Florida, and a customs spokesman in Los Angeles. (Exhibit A.)
14          5. On August 22, 2005, I wrote a letter to CBP requesting under the FOIA “any
15 documents (including but not limited to electronic records) detailing, describing or concerning
16 the August 18th, 2005 failure of a CBP computer system l” A true and correct copy of that
17 letter is attached as Exhibit B. In that letter, I also sought expedited processing of my request for
18 records, noting that I am a person primarily engaged in disseminating information to the public
19 and that there is an urgency to inform the public. I wrote in the letter that because the computer
20 system “was reportedly responsible for security screening of international travelers entering the
21 U.S.,” and had apparently been compromised by a computer virus, its failure could “suggest
22 strongly that a federal government computer system providing a vital security function was not
23 adequately protected from outside attacks, and could be subject to continuing and serious
24 compromises.” It was and remains my belief that because the public has an “obvious and urgent
25 interest” in the “safety of U.S. borders,” there exists a true urgency to inform the public of the
26 details of the reported failure.
27          6. I did not receive any response from CBP on my expedited processing request before
28 the expiration of ten calendar days as required by the FOIA’s expedited processing provision.


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 1          7. CBP contacted me on September 23, 2005, when I received a phone call from
 2 Erlinda Byrd. Ms Byrd identified herself as a CBP employee within the Office of Public Affairs,
 3 and said that my request had been received, but that the official or officials processing it would
 4 prefer that I voluntarily withdraw the request. Ms Byrd said those officials did not want to go to
 5 the trouble of conducting a records search that, in their view, would produce no information that
 6 they would be inclined to release, except for information that had already been released to the
 7 public and reported in the news. I respectfully declined her request. Ms Byrd did not in any way
 8 indicate that her telephone call was intended as a denial of my request, therefore I expected that
 9 an official answer would be forthcoming.
10          8. On December 9, 2005, I telephoned the office of the FOIA/Privacy Act officer for
11 CBP in Washington DC in an effort to ascertain the status of my request. The office informed
12 me that my request had been forwarded to CBP’s Office of Information and Technology
13 (“OIT”), and gave me a telephone number to call at that office. I then called the OIT and spoke
14 with Diane Hundertmark, who identified herself as the CBP official in charge of FOIA requests
15 within the OIT. She told me that she had no record of my request. Ms. Hundertmark said that the
16 OIT processed very few FOIA requests, and that she would have a record of any request directed
17 to that office.
18          9. In a letter I sent on December 9, 2005, I notified the CPBfs FOIA/Privacy Act officer
19 that I had not yet received determinations on my requests for records and expedited processing.
20 A true and correct copy of that letter is attached as Exhibit C. In that letter, I additionally related
21 the details of my conversations with Ms. Byrd and Ms. Hundertmark. Finally, I asked that CBP
22 “take every effort to ascertain the status of my request, and provide me with an initial
23 determination and a response to my request for expedited processing by the end of the year.”
24          10. In an article published on December 15, 2005 CNET News.com reported on
25 computer problems within the CPB, and made reference to the August 18, 2005 failure. The
26 CNET article cited a different Department of Homeland Security spokesman who said that initial
27 reports attributing the computer failure to a virus were in error, and that a virus was not
28 responsible for the outage. The article quoted the official as saying, “they have computer glitches


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 1 from time to time . . . and that was one instance of it.” A true and correct copy of that article is
 2 attached as Exhibit D.
 3          11. To my knowledge, CBP has made no statements explaining the discrepancy between
 4 the cause of the outage reported in the August 19, 2005 AP story and this CNET report.
 5          12. On January 31, 2006, I received an undated letter from CBP’s OIT, denying my
 6 request for documents. A true and correct copy of that letter is attached as Exhibit E. The letter
 7 was signed by Diane Hundertmark. The letter informed me that my request for “additional
 8 documentation . . . has been reviewed and considered,” but “mint has been determined that
 9 additional information beyond what has already been provided to the media is exempt from
10 disclosure in its entirety pursuant to 5 USC 552 (b)(2), as it is solely related to the internal
11 administrative practices of this agency.” The letter did not address my request for expedited
12 processing, but told me where to direct any appeal.
13          13. On February 2, 3006, I appealed by sending a letter to CBP according to the
14 instructions detailed in the denial letter. A true and correct copy of that letter is attached as
15 Exhibit F. I appealed on the following five grounds: (1) CBP had wrongfully withheld records
16 because 5 U.S.C. §(b)(2) does not applyp (2) CBP had failed to provide information that was
17 already publicly knownp (3) CBP did not conduct an adequate search for recordsp (4) CBP failed
18 to comply with time limits in processing my FOIA requestp and (5) CBP did not respond to my
19 request for expedited processing. I briefly explained each of the five wrongful actions, and
20 requested that CBP respond to my appeal within 20 days as required by the FOIA.
21          14. I have not received a response to my administrative appeal.
22          15. On March 7, 2006, I filed through counsel a complaint against CBP in United States
23 District Court for the Northern District of California, seeking records concerning the August 18,
24 2005 incident. Following the filing, I authorided my attorneys to negotiate with the attorneys for
25 CBP to obtain responsive records.
26          16. On March 31, 2006, I received through my attorneys six pages of responsive records
27 via fax from the United States Attorney’s office in San Francisco. A true and correct copy of
28 that fax is attached as Exhibit G. Included was a two-page document entitled “CBP Worm


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 1 08/18/05: Executive Summary,” and another document at least 2 pages long entitled “CBP
 2 Worm (qotob) on August 18, 2005: Executive Summary.” (Exhibit G.) The pages were heavily
 3 redacted, and one page was entirely blacked out. (Exhibit G.) The records relate that the qotob
 4 Internet worm infiltrated internal CBP computers on August 18, 2005, and CBP responded by
 5 installing patches to those computers, and to the US-VISIT workstations responsible for border
 6 intake screening.
 7          17. The pages I received were not accompanied by an explanatory cover letter from
 8 CBP. (Exhibit G.) There was no indication that the six pages of records I received were the only
 9 records located in CBP’s search, and no exemption was given to justify the redacted portions of
10 those released records.
11          I declare under penalty of perjury under the laws of the state of California that the
12 foregoing, including all exhibits thereto, is true and correct, and that this declaration was
13 executed in Port Washington, New York on April 13, 2006.
14
15
                                                           /s/ Signature on Following Page
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     rrrrrrrrrrrrrrrrrrrrr                                 KEVIN POULSEN
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